           Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 1 of 34




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                          §
IN RE:                                                    §   CHAPTER 11
                                                          §
ALEXANDER E. JONES                                        §   CASE NO. 22-33553 (CML)
                                                          §
                  Debtor.                                 §
                                                          §
                                                          §
--------------------------------------------------------- §
DAVID WHEELER, FRANCINE                                   §
WHEELER, JACQUELINE BARDEN,                               §   Adv. Proc. No. 23-3037
MARK BARDEN, NICOLE HOCKLEY, IAN §
HOCKLEY, JENNIFER HENSEL, DONNA                           §
SOTO, CARLEE SOTO-PARISI, CARLOS                          §
M. SOTO, JILLIAN SOTO MARINO,                             §
WILLIAM ALDENBERG, WILLIAM                                §
SHERLACH, ROBERT PARKER, AND                              §
RICHARD M. COAN, as chapter 7 trustee                     §
for the estate of ERICA LAFFERTY,                         §
                                                          §
                  Plaintiffs,                             §
                                                          §
v.                                                        §
                                                          §
                                                          §
ALEXANDER E. JONES                                        §
                                                          §
                    Defendant.                            §
                                                          §


MOTION FOR LEAVE TO APPEAL ORDER ON CONNECTICUT PLAINTIFFS’ MOTION
                      FOR SUMMARY JUDGMENT
                  Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 2 of 34




                                                            TABLE OF CONTENTS

PRELIMINARY STATEMENT .....................................................................................................1

FACTUAL BACKGROUND ..........................................................................................................2

QUESTION PRESENTED ..............................................................................................................5

RELIEF REQUESTED ....................................................................................................................6

ARGUMENT ...................................................................................................................................6

I.    There is a Controlling Question of Law ...................................................................................7

II. There are Substantial Grounds for Difference of Opinion........................................................9

     A. Necessarily Determined .....................................................................................................10

           1. Defamation and IIED ...................................................................................................10


           2. CUTPA ........................................................................................................................20


     B. Actually Litigated ..............................................................................................................22


     C. Fairness Factors and Constitutionality ...............................................................................23

III. An Immediate Appeal Would Materially Advance the Ultimate Termination of the Litigation
    ..................................................................................................................................................24

CONCLUSION ..............................................................................................................................25




                                                                                i
                Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 3 of 34




                                                  TABLE OF AUTHORITIES

                                                                                                                           Page(s)

Cases

Adhikari v. Daoud & Partners,
   No. 09-cv-1237, 2012 WL 718933 (S.D. Tex. Mar. 5, 2012) .................................................24

Advanced Fin. Servs., Inc. v. Associated Appraisal Servs., Inc.,
   830 A.2d 240 (Conn. App. 2003) ............................................................................................20

Antrican v. Odom,
   290 F.3d 178 (4th Cir. 2002) ...................................................................................................22

B.B. v. Bradley (In re Bradley),
   466 B.R. 582 (B.A.P. 1st Cir. 2012) ........................................................................................17

Birnie v. Elec. Boat Corp.,
   953 A.2d 28 (Conn. 2008) .......................................................................................................20

Bolmer v. Oliveira,
   594 F.3d 134 (2d Cir. 2010).....................................................................................................21

Bradburn Parent Tchr. Store, Inc. v. 3M,
   No. CIV.A.02-7676, 2005 WL 1819969, at *3 (E.D. Pa. Aug. 2, 2005)...................................7

Clark-Dietz & Assocs.-Engineers, Inc. v. Basic Const. Co.,
   702 F.2d 67 (5th Cir. 1983) .....................................................................................................25

Coates v. Brazoria Cnty. Tex.,
   919 F. Supp. 2d 863 (S.D. Tex. 2013) .....................................................................................25

In re Coudert Bros. LLP Law Firm Adversary Proceedings,
    447 B.R. 706 (S.D.N.Y. 2011) ...............................................................................................1, 3

Cumberland Farms, Inc. v. Town of Groton,
  808 A.2d 1107 (Conn. 2002) ...................................................................................................23

Donohue v. Shop-Rite Supermarkets,
   No. CV146041233S, 2014 WL 5094294 (Conn. Super. Ct. Aug. 28, 2014) ....................15, 18

Doughty v. Hill (In re Hill),
   265 B.R. 270 (Bankr. M.D. Fla. 2001) ....................................................................................17

Efthimiou v. Smith,
    846 A.2d 222 (Conn. 2004) .....................................................................................................10


                                                                       ii
                 Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 4 of 34




Matter of First Financial Development Corp.,
   960 F.2d 23 (5th Cir. 1992) .......................................................................................................7

First Owners’ Ass’n of Forty Six Hundred v. Gordon Props., LLC,
    470 B.R. 364 (E.D. Va. 2012)....................................................................................................1

Gambardella v. Apple Health Care,
  Inc., 969 A.2d 736, 744 (Conn. 2009) .....................................................................................11

Gilbert v. Dang (In re Dang),
   560 B.R. 287 (S.D. Tex. 2016) ..........................................................................................10, 17

Gladysz v. Plan. & Zoning Comm’n of Town of Plainville,
   773 A.2d 300 (Conn. 2001) ...............................................................................................21, 22

In re Global Marine, Inc.,
    108 B.R. 1007 (S.D. Tex. 1988) ................................................................................................7

Gober v. Terra
   + Corp. (In re Gober), 100 F.3d 1195, 1201 (5th Cir. 1996) ....................................................9

Grogan v. Garner,
   498 U.S. 279 (1991) ...................................................................................................................9

Heslin v. Jones (In re Jones),
   No. 22-33553, 2023 WL 6938266 (Bankr. S.D. Tex. Oct. 19, 2023) (Texas Adv. Doc.
   46) ............................................................................................................................................19

Hidden Cove Park & Marina v. Lexington Ins. Co.,
   No. 17-cv-193, 2018 WL 501079 (E.D. Tex. Jan. 22, 2018) ....................................................7

Matter of Hoffman,
   955 F.3d 440 (5th Cir. 2020) .....................................................................................................9

Matter of Ichinose,
   946 F.2d 1169 (5th Cir. 1991) ...................................................................................................7

Independent Party of CT-State Central v. Merrill,
   200 A.3d 1118 (Conn. 2019) ...................................................................................................22

Irvin v. Faller (In re Faller),
    547 B.R. 766 (Bankr. W.D. Ky. 2016) ....................................................................................12

Jefferson v. Holland (In re Holland),
    428 B.R. 465 (Bankr. N.D. Ill. 2010) ......................................................................................13

In re Kauanui,
    No. 14-00077, 2015 WL 359088 (Bankr. D. Haw. Jan. 23, 2015) ..........................................18

                                                                              iii
                Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 5 of 34




Kawaauhau v. Geiger,
  523 U.S. 57 (1998) .........................................................................................................9, 11, 16

King v. Huizar (In re Huizar),
   609 B.R. 482 (Bankr. W.D. Tex. 2019) ...................................................................................22

Kremer v. Chem. Const. Corp.,
   456 U.S. 461 (1982) .................................................................................................................24

Lafferty, et al. v. Jones, et al.,
    UWY-CV-XX-XXXXXXX-S ...........................................................................................................2

Langan v. Evers (In re Evers),
   212 B.R. 945 (Bankr. E.D. Wis. 1997) ....................................................................................12

Laurel Beach Ass’n v. Zoning Bd. of Appeals of City of Milford,
   785 A.2d 1169 (Conn. App. 2001) ....................................................................................10, 21

Mahadevan v. Bikkina (In re Mahadevan),
  617 F. Supp. 3d 654 (S.D. Tex. 2022) .............................................................12, 14, 15, 17, 18

Melendres v. Arpaio,
   695 F.3d 990 (9th Cir. 2012) ...................................................................................................22

Merritt v. Rizzo (In re Rizzo),
   337 B.R. 180 (Bankr. N.D. Ill. 2006) ......................................................................................12

In re Microsoft Corp. Antitrust Litig.,
    274 F. Supp. 2d 741 (D. Md.2003) ............................................................................................8

Miller v. J.D. Abrams, Inc. (In re Miller),
   156 F.3d 598 (5th Cir. 1998) .....................................................................................................9

Moore v. City of Wynnewood,
  57 F.3d 924 (10th Cir. 1995) ...................................................................................................22

Moye v. Cage,
  2011 WL 3444221 (S.D. Tex. Aug. 8, 2011) ............................................................................7

O’Gara v. Hunter (In re Hunter),
   610 B.R. 479 (Bankr. M.D.N.C. 2019) ....................................................................................12

Pemex Exploration y Produccion v. BASF Corp.,
   No. CIV.A. H-10-1997, 2011 WL 11569219 (S.D. Tex. Feb. 11, 2011) ................................24

Purser v. Scarbrough (In re Scarbrough),
   516 B.R. 897 (Bankr. W.D. Tex. 2014) .............................................................................13, 14


                                                                        iv
                Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 6 of 34




Raspanti v. Keaty (In re Keaty),
   397 F.3d 264 (5th Cir. 2005) .....................................................................................................9

Roderick Timber Co., 185 B.R. 601, 604 (B.A.P. 9th Cir. 1995) ....................................................1

Rodriguez v. City of Corpus Christi,
   No. 2:21-CV-00297, 2023 WL 6371029 (S.D. Tex. June 10, 2023) .........................................8

In re Royce Homes LP,
    466 B.R. 81 (S.D. Tex. 2012) ....................................................................................................1

Ryan v. Flowserve Corp.,
   444 F. Supp. 2d 718 (N.D. Tex. 2006) ......................................................................................8

Scarbrough v. Purser (In re Scarbrough),
   836 F.3d 447 (5th Cir. 2016) ...................................................................................................13

Sherlach, et al. v. Jones, et al.,
   UWY-CV-XX-XXXXXXX-S (collectively, the “State Court Case”) ..............................................2

Suboh v. District Attorney's Office of Suffolk Dist.,
   298 F.3d 81 (1st Cir. 2002) ......................................................................................................22

Swint v. Chambers County Comm’n,
   514 U.S. 35 (1995) ...................................................................................................................21

In re Taranto,
    365 B.R. 85 (B.A.P. 6th Cir. 2007)............................................................................................1

Tesco Corp. v. Weatherford Intern., Inc.,
   722 F. Supp. 2d 755 (S.D. Tex. 2010) .................................................................................7, 24

Thompson v. Durrance (In re Durrance),
   84 B.R. 238 (Bankr. M.D. Fla. 1988) ......................................................................................12

In re Tile Outlet, Inc.,
    2006 WL 17116125 (S.D. Tex. June 16, 2006) .........................................................................7

Total E&P USA, Inc. v. Marubeni Oil & Gas USA, Inc.,
   No. CV H-16-2671, 2018 WL 11469624 (S.D. Tex. Nov. 6, 2018) .........................................7

Ulbrich v. Groth,
   78 A.3d 76 (Conn. 2013) .........................................................................................................20

Wheeler v. Laudani,
  783 F.2d 610 (6th Cir. 1986) .............................................................................................11, 12

Witowski v. Welch,
   173 F.3d 192 (3d Cir. 1999).......................................................................................................8
                                                                         v
                 Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 7 of 34




Codes

United States Code title 28 Section 158(a) ......................................................................................6

Bankruptcy Code Chapter 11 .......................................................................................................2, 3

Bankruptcy Code § 523(a) ...............................................................................................................3

Bankruptcy Code §§ 1007 and 1008 ................................................................................................3

Statutes

11 U.S.C. § 523(a)(6) ...................4, 5, 6, 7, 9, 10, 11, 12, 13, 15, 16, 17, 18, 20, 21, 22, 23, 24, 25

28 U.S.C. § 157 ................................................................................................................................6

28 U.S.C. § 158(a)(3) ...................................................................................................................1, 6

28 U.S.C. § 1292 ..............................................................................................................................6

28 U.S.C. § 1292(b) .....................................................................................................................1, 7

28 U.S.C. § 1738 ......................................................................................................................21, 24

Other Authorities

First Amendment .........................................................................................................................2, 4

Bankruptcy Rule 8004 .................................................................................................................1, 6

Free Speech Clause ..........................................................................................................................2




                                                                            vi
            Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 8 of 34




        Pursuant to 28 U.S.C. § 158(a)(3) and Federal Rule of Bankruptcy Procedure (“Bankruptcy Rule”)

8004, Debtor Alexander E. Jones (“Debtor”) hereby respectfully moves this Court for leave to appeal

Memorandum Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones (the

“Connecticut Order”) (Doc. 76), which is an interlocutory order entered by the U.S. Bankruptcy Court for

the Southern District of Texas (the “Bankruptcy Court”), a copy of which is attached hereto as Exhibit A.

                                     PRELIMINARY STATEMENT

        Debtor asks this Court for leave to appeal the Connecticut Order pursuant to Bankruptcy Rule

8004 and 28 U.S.C. § 158(a)(3), which confers district courts with appellate jurisdiction over interlocutory

orders with leave of the district court. While 28 U.S.C. § 158(a)(3) specifies no criteria for granting such

leave, courts often look to the prerequisites set forth in 28 U.S.C. § 1292(b) to determine whether to allow

an interlocutory appeal. Under 28 U.S.C. § 1292(b), leave to appeal should be granted when the order

involves (1) a question of law that is controlling; (2) as to which there is a substantial ground for difference

of opinion; and (3) an immediate appeal of which would materially advance the ultimate termination of

the litigation. See In re Royce Homes LP, 466 B.R. 81, 94 (S.D. Tex. 2012); see also DaimierChrysler

Servs. N. Am. LLC v. Taranto (In re Taranto), 365 B.R. 85, 87 (B.A.P. 6th Cir. 2007); Roderick v. Levy

(In re Roderick Timber Co.), 185 B.R. 601, 604 (B.A.P. 9th Cir. 1995); First Owners’ Ass’n of Forty Six

Hundred v. Gordon Props., LLC, 470 B.R. 364, 371 (E.D. Va. 2012); In re Coudert Bros. LLP Law Firm

Adversary Proceedings, 447 B.R. 706, 711 (S.D.N.Y. 2011). For the reasons set forth below, all factors

are present here, and the Court should grant Debtor leave to appeal the Connecticut Order.




                                                       1
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 9 of 34




                                          FACTUAL BACKGROUND

        1.       On December 2, 2022 (“Petition Date”), Debtor commenced a voluntary case under

Chapter 11 of the Bankruptcy Code. (Bankruptcy Doc. 1).1

        2.       The portion of the debt relevant to this Motion comes from the judgment of consolidated

cases in Connecticut Superior Court,2 related to statements Debtor made on his radio show questioning

the veracity of the 2013 Sandy Hook Elementary School shooting.

        3.       In May and December 2018, David Wheeler, Francine Wheeler, Jacqueline Barden, Mark

Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto,

Jillian Soto Marino, William Aldenberg, William Sherlach, Robert Parker, and Erica Lafferty

(collectively, “Plaintiffs”) sued Debtor. At all times, Debtor maintained that his statements were protected

from tort liability by the Free Speech Clause of the First Amendment, targeted at the certain factions of

the government and mainstream media, and were not intended to harm any individual.

        4.       On November 15, 2021, the state court entered a default judgment against Debtor based on

discovery violations for failing to produce certain web-traffic analytics (the “Default Judgment”). The

court then set the matter for a damages hearing, since liability had already been determined by the default

judgment. At the hearing, Debtor was forbidden from testifying on, among other things, his lack of intent

to cause harm to Plaintiffs.

        5.       On October 12, 2022, the jury reached a verdict regarding compensatory damages for the

claims of defamation, intentional infliction of emotional distress (“IIED”), invasion of privacy by false




1
  All docket references herein shall be to Adversary Proceeding No. 23-3037 unless otherwise specified. References to
“Bankruptcy Doc.” refer to Debtor’s Chapter 11 Case No. 22-33553, and references to “Texas Adv. Doc.” refers to Debtor’s
other adversary proceeding Case No. 23-3035.
2
 Lafferty, et al. v. Jones, et al., UWY-CV-XX-XXXXXXX-S, Sherlach, et al. v. Jones, et al., UWY-CV-XX-XXXXXXX-S, and
Sherlach, et al. v. Jones, et al., UWY-CV-XX-XXXXXXX-S (collectively, the “State Court Case”).

                                                           2
            Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 10 of 34




light, and a violation of the Connecticut Unfair Trade Practices Act (“CUTPA”) in favor of Plaintiffs and

against the Debtor in the amount of $965 million (the “Compensatory Damages Verdict”). The jury also

found that Plaintiffs were entitled to common law punitive damages, which in Connecticut consist of

attorney’s fees and costs. The amount of common-law punitive damages and punitive damages under

CUPTA were to be determined by the court at a later date.

       6.      On November 10, 2022, the Connecticut court issued a memorandum opinion ordering

punitive damages in favor of Plaintiffs and against Debtor (the “Punitive Damages Order”). The Court

awarded Plaintiffs $321 million for common-law punitive damages and $150 million for CUTPA punitive

damages.

       7.      Debtor continues in possession of his holdings and is managing as a debtor-in-possession

pursuant to Bankruptcy Code §§ 1007 and 1008.

       8.      Information regarding Debtor’s background and assets, liabilities, schedules, and plan, and

the events leading up to the commencement of this Chapter 11 case can be found in Debtor’s Initial Status

Report. (Bankruptcy Doc. 21). Debtor respectfully refers the Court to the factual background set forth in

Debtor’s Defendant’s Objection and Response to Movants’ Motion for Summary Judgment (Doc. 61) and

Defendant’s Objections and Responses to Movants’ Statement of Uncontested Material Facts and

Summary Judgment Evidence (Doc. 62) to Plaintiffs’ Statement of Uncontested Material Facts in Support

of Plaintiffs’ Motion for Summary Judgment (Doc. 57-1), which he incorporates fully herein by reference.

The following includes only the background necessary to highlight the need for the relief requested in the

Motion.




                                                    3
               Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 11 of 34




         9.       On March 10, 2023, Plaintiffs3 filed their Adversary Complaint Seeking Judgment that

Sandy Hook Judgment is Non-Dischargeable under Bankruptcy Code § 523(a) (the “Complaint”) (Doc.

1) in this adversary proceeding with the Bankruptcy Court seeking a declaration that Debtor’s debts to

Plaintiffs were nondischargeable.

         10.      On May 5, 2023, Debtor filed his Defendant Alexander E. Jones’s Original Answer to

Plaintiffs’ Complaint (Doc. 56) with the Bankruptcy Court in response to Plaintiffs’ Complaint.

         11.      On May 12, 2023, Plaintiffs filed their Plaintiffs’ Motion for Summary Judgment (Doc. 57-

59) and their Memorandum of Law in Support of Plaintiffs’ Motion for Summary Judgment (Doc. 60)

(collectively, “Plaintiffs’ MSJ”) with the Bankruptcy Court seeking summary judgment on the

dischargeability issue. Plaintiffs argued that Debtor was collaterally estopped from arguing that his debt

to Plaintiffs was not willful and malicious injury under 11 U.S.C. § 523(a)(6) and that the record from the

underlying Connecticut state court action confirmed that the judgment arises from Debtor’s willful and

malicious injury.

         12.      On June 13, 2023, Debtor filed his Defendant’s Objection and Response to Movants’

Motion for Summary Judgment (Doc. 61) and his Defendant’s Objections and Responses to Movants’

Statement of Uncontested Material Facts and Summary Judgment Evidence (Doc. 62) with the Bankruptcy

Court, arguing (among other things) that collateral estoppel did not apply under Connecticut law or under

the First Amendment.

         13.      On July 14, 2023, Plaintiffs filed their Reply Memorandum of Law in Support of Plaintiffs’

Motion for Summary Judgment (Doc. 66) with the Bankruptcy Court.




3
 Richard M. Coan joined Plaintiffs as chapter 7 trustee for the estate of Erica Lafferty. The collectively defined “Plaintiffs”
will be used for both the plaintiffs group that sued Debtor in the State Court Case and in this above-captioned matter.

                                                              4
               Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 12 of 34




        14.       On August 15, 2023, the Bankruptcy Court held a hearing on the Plaintiffs’ MSJ and a

similar summary judgment motion in the Texas adversary proceeding, and heard argument presented by

all parties.

        15.       On October 19, 2023, the Bankruptcy Court issued the Connecticut Order. The Bankruptcy

Court granted summary judgment on the $965 million debt for compensatory damages awarded in the

underlying Connecticut action for defamation and IIED. Furthermore, it granted summary judgment on

the $150 million debt for punitive damages under CUTPA. However, summary judgment was denied as

to the $321.65 million in attorneys’ fees and $1,489,555.94 in costs awarded as common law punitive

damages. All other objections raised by Debtor that were not specifically addressed in the Connecticut

Order were considered to be denied.

        16.       Contemporaneously herewith, Debtor files his notice of appeal from the Connecticut Order,

accompanied by this Motion for Leave to Appeal Order on Connecticut Plaintiffs’ Motion for Summary

Judgment (the “Motion”).

                                        QUESTIONS PRESENTED

        17.       The question presented in this case is presented as one question with three sub-questions.

As to the broad question, Debtor asks the Court:

        1. Do default judgments for defamation and IIED in Connecticut state court or the imposition of
           punitive damages under Connecticut’s consumer protection law preclude litigation on
           nondischargeability of those judgments in bankruptcy under 11 U.S.C. § 523(a)(6) under the
           doctrine of collateral estoppel?

        18.       As to the narrower sub-questions that are encompassed by the broader question, Debtor

submits as follows:

        a) Under the applicable state law, an issue must be “necessarily determined” by the first court for
           collateral estoppel to apply, which means that the judgment could not have been validly
           rendered without deciding the issue. Here, the issue of “willful and malicious injury” under §
           523(a)(6) was not necessary to the judgment because the disjunctive jury instruction for both
           defamation and IIED allowed for valid judgments based on a lesser standard than that required

                                                      5
               Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 13 of 34




               for nondischargeability under § 523(a)(6). The same is true for the standards governing the
               award of punitive damages under Connecticut consumer protection laws. Did the Bankruptcy
               Court err in determining that the § 523(a)(6) issue was “necessarily determined” here?

         b) Likewise, the issue must be “actually litigated.” Generally, a default judgment is not enough
            to meet this requirement for collateral estoppel, but there are exceptions in some circumstances.
            In a § 523(a)(6) adversarial proceeding, one such circumstance is when the first court conducts
            a hearing equivalent to a hearing on § 523(a)(6). Here, there is no equivalency because Debtor
            was expressly forbidden from testifying on anything related to § 523(a)(6)—that is, intent to
            cause harm—at a damages hearing following the default judgment. Did the Bankruptcy Court
            err in determining that the § 523(a)(6) issue was “actually litigated” here?

         c) Both state and federal collateral estoppel law require a court to assess the constitutionality of
            the judgment at issue even though the same consideration might also be issues on an appeal of
            the judgment rendered in the first court. Here, the Bankruptcy Court did not assess the
            constitutionality of the judgment. Did the Bankruptcy Court err in doing so?

                                          RELIEF REQUESTED

         19.      By this Motion, Debtor respectfully requests that the court grant leave to appeal the

Connecticut Order. As set forth herein, Debtor has satisfied the requirements for interlocutory review of

the Connecticut Order and the reversal of the Connecticut Order would materially hasten termination of

the instant case. For these reasons, and the reasons set forth more fully below, Debtor seeks entry of an

order pursuant to Bankruptcy Rule 8004 and 28 U.S.C. § 158(a)(3) granting leave to appeal Connecticut

Order.

                                               ARGUMENT

         20.      Section 158(a) of title 28 of the United States Code grants United States District Courts

jurisdiction to hear appeals from interlocutory orders issued by a Bankruptcy Court at their discretion. 28

U.S.C. § 158(a)(3) (noting that a District Court shall have jurisdiction to hear appeals “from interlocutory

orders and decrees, of bankruptcy judges entered in cases and proceedings referred to the bankruptcy

judges under” 28 U.S.C. § 157 (internal citation omitted)). Although Section 158(a) is silent on the

question of how this discretion is to be exercised, courts look to the factors set forth in 28 U.S.C. § 1292,

which define the scope of appellate jurisdiction over interlocutory appeals from the district courts.

                                                      6
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 14 of 34




       21.      Leave to appeal is an exercise of judicial discretion dependent on the circumstances of the

case. When deciding whether to grant leave to appeal under Bankruptcy Rule 8004, courts consider factors

which include whether: (1) the appeal involves a controlling question of law as to which there is (2)

substantial ground for difference of opinion and (3) when an immediate appeal from the order may

materially advance the ultimate termination of the litigation. 28 U.S.C. § 1292(b); Ichinose v. Homer Nat’l

Bank (In re Ichinose), 946 F.2d 1169, 1177 (5th Cir. 1991); In re First Fin. Dev. Corp., 960 F.2d 23, 25

(5th Cir. 1992); In re Global Marine, Inc., 108 B.R. 1007, 1009 (S.D. Tex. 1988); Moye v. Cage, No. H-

10-4531, 2011 WL 3444221, at *3-4 (S.D. Tex. Aug. 8, 2011); In re Tile Outlet, Inc., No. 05-80340, 2006

WL 1716125, at *6-7 (S.D. Tex. June 16, 2006).

       22.      Because each of these factors weighs in favor of leave to appeal, this Court should grant

Debtor’s Motion for leave to appeal the Connecticut Order.

I.   There Is a Controlling Question of Law

       23.      To constitute a controlling issue of law, an issue does not need to be outcome

determinative. Tesco Corp. v. Weatherford Intern., Inc., 722 F. Supp. 2d 755, 765-66 (S.D. Tex. 2010)

Rather, the determination “hinges upon its potential to have some impact on the course of the litigation.”

Id. at 766. Moreover, “[a] ruling turns on a controlling question of law for purposes of an interlocutory

appeal under § 1292(b) only if it involves ‘a pure issue of law, i.e., a question the appellate court can

efficiently rule on without making an intensive inquiry into the record.’” Total E & P USA, Inc. v.

Marubeni Oil & Gas USA, Inc., No. H-16-2671, 2018 WL 11469624, at *2 (S.D. Tex. Nov. 6, 2018)

(quoting Hidden Cove Park & Marina v. Lexington Ins. Co., No. 4:17-CV-193, 2018 WL 501079, *1

(E.D. Tex. Jan. 22, 2018)).




                                                     7
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 15 of 34




       24.      In this appeal, the straightforward question of law presented is whether collateral estoppel,

or issue preclusion, preclude litigation on nondischargeability under 11 U.S.C. § 523(a)(6) due to default

judgments on defamation and IIED in Connecticut state court.

       25.      Many courts have found that an order based on offensive collateral estoppel is a question

of law that controls many aspects of the proceedings in substantial respects. Bradburn Parent Tchr. Store,

Inc. v. 3M, No. CIV.A.02-7676, 2005 WL 1819969, at *3 (E.D. Pa. Aug. 2, 2005) (“There can be little

doubt that the Court’s June 9, 2005 Order applying offensive collateral estoppel to certain facts established

in LePage’s was a ruling on an issue of law.”); see also Witowski v. Welch, 173 F.3d 192, 197 (3d Cir.

1999) (in reviewing collateral estoppel order, question is whether district court correctly applied the law

to determine that certain matters were barred); In re Microsoft Corp. Antitrust Litig., 274 F. Supp. 2d 741,

742 (D. Md. 2003) (certifying court’s order applying collateral estoppel to preclude relitigation of certain

issues in antitrust action for interlocutory appeal).

       26.      Here is no exception. The only question Debtor asks the Court to review is whether the

Bankruptcy Court properly applied the doctrine of collateral estoppel under Connecticut law. This is

purely a question of law. Debtor does not dispute the facts relied on by the Bankruptcy Court, and the

Court here does not have to make any credibility determinations or review any issues of fact determined

by the Bankruptcy Court or an extensive record. Rather, the Court just needs to look at a few documents

in the state-court record, like, for instance, the petition, the Default Judgment, the jury instructions, the

Punitive Damages Order, and the Final Judgment to determine whether collateral estoppel applies.

Moreover, this question materially affects the litigation’s outcome because the application of the doctrine

of collateral estoppel under Connecticut law was the only issue decided by the Bankruptcy Court, and its

determination is the central question of the adversary proceeding.




                                                        8
              Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 16 of 34




II.   There Are Substantial Grounds for Differences of Opinion

        27.      A substantial ground for difference of opinion exists where “a trial court rules in a manner

which appears contrary to the rulings of all Courts of Appeals which have reached the issue, if the circuits

are in dispute on the question and the Court of Appeals of the circuit has not spoken on the point, if

complicated questions arise under foreign law, or if novel and difficult questions of first impression are

presented.” Rodriguez v. City of Corpus Christi, No. 2:21-CV-00297, 2023 WL 6371029, at *2 (S.D. Tex.

June 10, 2023) (quoting Ryan v. Flowserve Corp., 444 F. Supp. 2d 718, 723-24 (N.D. Tex. 2006)).

        28.      A brief summary of the relevant law is in order here. The Bankruptcy Code exempts

damages from an injury caused willfully and maliciously by a debtor with the intent to cause such injury

to another person or their property from discharge. 11 U.S.C. § 523(a)(6). The Supreme Court in

Kawaauhau v. Geiger, 523 U.S. 57, 61 (1998), settled a split among the circuits and clarified the scope of

the willful and malicious injury exception to discharegability in § 523(a)(6). The Court noted that the word

“willful” modifies the word “injury,” and that nondischargeability takes a deliberate or intentional injury

rather than a deliberate or intentional act that leads to injury. Id. With this formulation, the Court instructed

litigants and courts to think of intentional torts (which generally require that the actor intend the

consequences of an act, not simply the act itself) and ultimately held that debts arising from recklessly

inflicted injuries do not fall within the compass of § 523(a)(6). Id. at 61-62.

        29.      In the Fifth Circuit, a “willful and malicious injury” requires finding an “objective

substantial certainty of harm or a subjective motive to cause harm.” Miller v. J.D. Abrams, Inc. (In re

Miller), 156 F.3d 598, 606 (5th Cir. 1998). “To prevail under § 523(a)(6), a creditor must prove by a

preponderance of the evidence that the debt is not dischargeable.” Raspanti v. Keaty (In re Keaty), 397

F.3d 264, 270 (5th Cir. 2005).




                                                       9
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 17 of 34




       30.      As is relevant here, “[p]arties may invoke collateral estoppel in certain circumstances to

bar relitigation of issues relevant to dischargeability, although the bankruptcy court retains exclusive

jurisdiction to ultimately determine the dischargeability of the debt.” Gober v. Terra + Corp. (In re

Gober), 100 F.3d 1195, 1201 (5th Cir. 1996) (citing Grogan v. Garner, 498 U.S. 279, 284 n.11 (1991)).

In determining whether to give preclusive effect to a state court judgment, courts “apply the preclusion

rules of the state that rendered the judgment. Matter of Hoffman, 955 F.3d 440, 444 (5th Cir. 2020). In

Connecticut, for collateral estoppel to apply, the issue must have been “actually litigated” and “necessarily

determined” in the first case. Efthimiou v. Smith, 846 A.2d 222, 227 (Conn. 2004). Debtor will address

the “necessarily determined” prong first.

       A. Necessarily Determined

             1. Defamation and IIED

       31.      The most obvious example of the substantial-ground-for-a-difference-of-opinion element

being satisfied comes in the Bankruptcy Court’s reasoning on whether the Connecticut Judgment

“necessarily determined” the “willful and malicious injury” issue under § 523(a)(6) as it relates to the

jury’s finding of compensatory damages for defamation and IIED, which totaled $965 million.

       32.      For collateral estoppel to apply here, the Bankruptcy Court must have specifically

determined that the issue of “willful and malicious injury” under § 523(a)(6) as defined by the Fifth Circuit

was inherent in the Connecticut Judgment and thus necessary for both IIED and defamation. Laurel Beach

Ass’n v. Zoning Bd. of Appeals of City of Milford, 785 A.2d 1169, 1176 (Conn. App. 2001).

       33.      In the section discussing the necessarily determined prong of collateral estoppel, the

Bankruptcy Court relied on the jury instructions to conclude that “there are specific findings about an

objective certainty of harm and a subjective motive to cause harm in connection with the defamation and

intentional infliction of emotional distress claims.” (Doc. 76 at 14). However, while the Bankruptcy Court


                                                     10
              Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 18 of 34




was correct to rely on the jury instructions for its analysis, the instructions themselves are disjunctive and

allowed the jury to base its verdict on reckless conduct. Importantly, “[d]isjunctive jury instructions in

state-court judgments make it difficult for a bankruptcy court to give preclusive effect to that judgment in

deciding whether the judgment debt is nondischargeable.” See Gilbert v. Dang (In re Dang), 560 B.R.

287, 293 (S.D. Tex. 2016).

        34.      As to defamation, the Bankruptcy Court relied on the following passage: “the defendants

defamed the plaintiffs by accusing them of faking their children’s death, being crisis actors, and

fraudulently misrepresenting themselves to the public at large.” (Doc. 76) (quoting Jury Instructions, Doc.

57-21). Importantly, the jury instructions on defamation did not include a level of culpability, and under

Connecticut law, the most stringent standard available for a claim of defamation is “actual malice,” which

can be met with mere recklessness as to the veracity of the statement. Gambardella v. Apple Health Care,

Inc., 969 A.2d 736, 744 (Conn. 2009). Thus, based on the record before the Bankruptcy Court, it is

impossible to determine whether the jury awarded damages for defamation based on intentional or reckless

conduct. This is dispositive, as section 523(a)(6) does not discharge debts arising from negligently or

recklessly inflicted injuries. Kawaauhau, 523 U.S. at 59.

        35.      This situation arose in Wheeler v. Laudani, 783 F.2d 610 (6th Cir. 1986), where a state

court jury found the defendant liable for defamation pursuant to a general verdict. Because the plaintiff

was a public figure, the jury was required to find actual malice. Id. at 615. The bankruptcy court granted

the plaintiff’s motion for summary judgment, reasoning that “[l]ibel is an intentional tort based upon a

willful and malicious injury . . . . It suffices that this court finds that the verdict [in the state-court action],

finding Defendant liable for defamation, encompassed within it a finding that Defendant-Debtor willfully

and maliciously injured Plaintiffs.” Id. at 614 (alterations and ellipses in original). The Sixth Circuit

reversed the granting of summary judgment in favor of the plaintiff, reasoning that “a libel verdict may


                                                        11
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 19 of 34




be based on reckless conduct,” but “mere reckless disregard for the truth or falsity of the statement . . .

is not a willful and malicious injury for purposes of § 523(a)(6).” (emphasis added). The Wheeler court

further reasoned that “[b]ecause the jury’s verdict was general, it is impossible on the current state of the

record to divine whether the jury verdict rested on a finding that [defendant] acted knowingly or merely

recklessly.” Id. at 615. The court concluded by stating that “neither the pleadings nor the general verdict

reflects that the issue of willfulness and maliciousness was actually litigated and necessary to the verdict.

Thus, based on the record at hand, collateral estoppel would not operate to bar relitigation of this issue.”

Id.

       36.      While the Fifth Circuit has not opined on this particular issue, other courts have followed

the guidance of the Wheeler Court:

       Although the Plaintiff pled intentional defamation in the state court proceeding, the default
       judgment does not necessarily imply a finding of “willful and malicious” conduct on the
       part of the Debtor due to the fact that the Plaintiff's Complaint alleged that the statements
       were made either “with knowledge ... or reckless disregard for the truth.” Clearly, reckless
       acts are insufficient to satisfy § 523(a)(6). Wheeler, supra. Further, there was no actual
       litigation regarding the Debtor's knowledge of the falsity of any statements made by her
       concerning the Plaintiff. Based on the state court records, this Court is satisfied that
       collateral estoppel principles should not prevent this Court from considering whether the
       Debtor's conduct was “willful and malicious” as defined by § 523(a)(6) of the Bankruptcy
       Code.

Thompson v. Durrance (In re Durrance), 84 B.R. 238, 239-40 (Bankr. M.D. Fla. 1988); see also

Mahadevan v. Bikkina (In re Mahadevan), 617 F. Supp. 3d 654, 664 (S.D. Tex. 2022) (holding willful

and malicious conduct was not necessarily decided by state-court judgment for defamation when the “jury

was not asked to decide whether [the defendant] knew that the statements were false, but spread them

anyway, knowing they would harm [the plaintiff]”); Irvin v. Faller (In re Faller), 547 B.R. 766, 771

(Bankr. W.D. Ky. 2016) (holding collateral estoppel did not apply where state court verdict found the

defendant liable for defamation per se because the defendant’s conduct was potentially reckless, which

does not satisfy § 523(a)(6)); Langan v. Evers (In re Evers), 212 B.R. 945, 949 (Bankr. E.D. Wis. 1997)
                                                     12
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 20 of 34




(“Reckless disregard may be sufficient to establish libel but it is not sufficient to establish maliciousness

under § 523(a)(6).”); O’Gara v. Hunter (In re Hunter), 610 B.R. 479, 509 (Bankr. M.D.N.C. 2019)

(“Plaintiffs plausibly pleaded actual malice under California law, but actual malice is a broader scienter

requirement than that found in willful and malicious under § 523(a)(6).”); Merritt v. Rizzo (In re Rizzo),

337 B.R. 180, 189 (Bankr. N.D. Ill. 2006) (stating “defamatory statement is not ‘malicious’ unless the

debtor knew the statement was false when he made it”); Jefferson v. Holland (In re Holland), 428 B.R.

465, 474 (Bankr. N.D. Ill. 2010) (same).

       37.      The Bankruptcy Court did not discuss any of these cases and instead relied on Purser v.

Scarbrough (In re Scarbrough), 516 B.R. 897, 912-13 (Bankr. W.D. Tex. 2014). In Scarborough, the

court applied the doctrine of collateral estoppel and concluded that a state-court defamation judgment was

nondishargeable under § 523(a)(6). Id. The Bankruptcy Court here relied heavily on the fact that the

defamation jury instruction in Scarbrough stated that the debtor made statements he “knew were false or

which he made with a high degree of awareness that were probably false, to an extent that he in fact had

serious doubts as to the truth of the statement(s).” (Doc. 76 (quoting Scarbrough, 516 B.R. at 912)). The

Bankruptcy Court noted that the “instruction mirrors the defamation instruction in this case.” Id. The

Bankruptcy Court further noted that the Fifth Circuit later affirmed that holding. See Scarbrough v. Purser

(In re Scarbrough), 836 F.3d 447, 456 (5th Cir. 2016).

       38.      But Scarbrough and its subsequent affirmance by the Fifth Circuit does not support the

Bankruptcy Court’s reasoning. In Scarbrough, the defendant—who was an attorney—was sued in state

court for defamation because he had disseminated false allegations that the plaintiffs’ family members

had abused and murdered their elderly father. Id. at 909. The reason for the false accusations was because,

at the time he made the defamatory statements, the defendant was representing a woman who had received

monetary gifts from the father and who had been sued by the family members for fraud. Id. at 904. The


                                                     13
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 21 of 34




defendant had a full trial on the merits in state court and was found liable for defamation and fraud. Id. at

909. The defendant filed for bankruptcy, the plaintiff brought an adversary claim for nondischargeability,

and after a trial on the merits in front of the bankruptcy court, the court held the debt non-dischargeable.

Id. at 912. The court found that the defendant made his allegations as a strategic maneuver to delay burial

of the father in an effort to obtain an autopsy to show that the father had not been suffering from dementia.

The court further found that the attorney knew his statements were false. Id. The Scarbrough court

concluded, with the luxury of two full records from the merits trial below and its own trial to conclude

that the defendant’s “subjective motive in posting the videos was to damage [the plaintiff’s] reputation

and candidacy for the school board elections, and to needlessly harass her in connection with the Bell

County lawsuit.” Id. at 914.

       39.      The most important thing to note from Scarbrough is that the defendant had a full trial on

the merits in the state-court and in the bankruptcy court where he was allowed to testify as to his level of

intent, and two factfinders determined that the defendant knew he was lying about the plaintiff in that

case. That same procedural posture and record is not present here. Rather, Debtor was not allowed to

testify to his culpability in the Connecticut Action and has not yet been afforded the opportunity to do so

in front of the Bankruptcy Court.

       40.      To be sure, the Scarbrough bankruptcy court did note that the jury was instructed that the

defendant made statements “he knew were false or which he made with a high degree of awareness that

were probably false, to an extent that he in fact had serious doubts as to the truth of the statement(s),” and

then subsequently reasoned that this instruction thus showed that the jury “made a finding on the issue of

Debtor’s subjective belief in the veracity of his own statements.” Id. at 912. But this should be read in the

context of the rest of the Scarbrough record, which, as described above, indicates that two factfinders

determined that the defendant knew he was lying about the plaintiff in that case. And to the extent that


                                                     14
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 22 of 34




Scarbrough can be read as giving preclusive effect to a defamation judgment that could have been based

on reckless conduct, this Court should simply reject its holding and the Bankruptcy Court’s reliance on it,

as such a holding is counter to this Court’s pronouncement in Mahadevan and the numerous other cases

cited above that were also cited to the Bankruptcy Court. Moreover, in the subsequent appeal to the Fifth

Circuit, which the Bankruptcy Court also relies on, the issue of the disjunctive jury instruction was not

raised, so the Fifth Circuit had no occasion to opine on it.

       41.      Accordingly, because numerous other courts from various circuits (including this Court)

have held a jury award for defamation that could have been based on reckless conduct due to a disjunctive

jury instruction does not necessarily decide the issue of “willful and malicious injury” under § 523(a)(6),

and because the Bankruptcy Court did not provide any analysis for why this case is different, there are

substantial grounds for a difference opinion as to the Bankruptcy Court’s finding on defamation.

       42.      Moving on to the claim of IIED, the same logic applies. The Bankruptcy Court quoted the

jury instruction on IIED, which stated that Debtor could be found liable for IIED if he “intended to inflict

emotional distress or [if he] knew or should have known that emotional distress was the likely result of

his conduct.” (Doc. 67) (quoting Jury Instructions, Doc. 57-21). Under Connecticut law, as is the case

most everywhere, the phrase “knew or should have known” is synonymous with recklessness. See

Donohue v. Shop-Rite Supermarkets, No. CV146041233S, 2014 WL 5094294, at *3 (Conn. Super. Ct.

Aug. 28, 2014) (noting that the phrase “knew or should have known” was sufficient to state a claim for

recklessness). For that reason, the § 523(a)(6) issue was not necessary to, nor inherent in, the IIED

judgment.

       43.      This Court determined this exact issue in Mahadevan. In Mahadevan, the plaintiff sued the

defendant under California law for negligence, defamation, and intentional infliction of emotional distress

after the defendant, the plaintiff’s former academic advisor, accused the plaintiff of plagiarizing two


                                                     15
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 23 of 34




scientific papers. Id. at 657. At trial, the jury found for the plaintiff, awarding compensatory and exemplary

damages. Id. After the defendant filed for bankruptcy, the plaintiff filed an adversary proceeding, seeking

to declare the judgment nondischargeable pursuant to § 523(a)(6). Id. at 658. The bankruptcy court granted

the plaintiff’s motion for summary judgment finding that collateral estopped barred the defendant from

relitigating the state-court judgments because the jury had already determined that the defendant’s conduct

in incurring the debt was willful and malicious. Id.

       44.      On appeal, the District Court for the Southern District of Texas reversed the bankruptcy

court, finding that because the jury was instructed that the defendant could have been held liable if the

jury found that he acted intentionally or with reckless disregard, then the issue of willful and malicious

conduct had not been necessarily decided in the California state-court case because “[d]ebts arising from

recklessly or negligently inflicted injuries do not fall within the compass of § 523(a)(6).” Id. at 664

(quoting Kawaauhau, 523 U.S. at 64). The court further reasoned that “jury instructions and the verdict

form d[id] not, alone, support the finding that Mahadevan acted with an intent to harm.” Id. at 665. While

acknowledging that courts can look beyond the judgment and instructions to see if there was evidence in

the state-court proceedings that support a finding of intent, the district court found that the plaintiff did

not attach any such evidence to his motion for summary judgment, depriving the bankruptcy court of that

record to evaluate. Id. The court thus reversed and remanded the case back to the bankruptcy court for

further proceedings. Id. at 667.

       45.      The Bankruptcy Court did not point to any other evidence from the record showing that

Debtor acted intentionally (because there was none since he was not allowed to testify to his level of

culpability), and instead relied solely on the jury instruction: “Nothing in the jury instruction for

defamation or intentional infliction of emotional distress contemplates that a lesser standard of intent

should apply to Jones’s knowledge of the injury.” (Doc. 76 at 14). But as the disjunctive jury instruction


                                                       16
              Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 24 of 34




shows, this statement is simply wrong. The jury instruction for IIED does contemplate a lesser standard

of intent by stating that Debtor “knew or should have known that emotional distress was the likely result

of [his] conduct.” (Id.).

        46.      Debtor cited numerous other cases to the Bankruptcy Court that followed the same

reasoning as did Mahadevan. See Dang, 560 B.R. at 293 (“Disjunctive jury instructions in state-court

judgments make it difficult for a bankruptcy court to give preclusive effect to that judgment in deciding

whether the judgment debt is nondischargeable.”); see also Doughty v. Hill (In re Hill), 265 B.R. 270,

276-77 (Bankr. M.D. Fla. 2001) (“Because the jury's finding of [IIED] could have based upon a finding

of reckless disregard, the elements of [IIED] under California law do not closely mirror the requirements

for excepting a debt from discharge under § 523(a)(6). Accordingly, collateral estoppel does not apply to

the jury's finding of [IIED]. The Court need not address whether the remaining requirements of collateral

estoppel, as to the [IIED], are met.”); B.B. v. Bradley (In re Bradley), 466 B.R. 582, 589 (B.A.P. 1st Cir.

2012) (“If the judgment were based upon reckless disregard, a ‘strong probability’ is not identical to

‘substantial certainty.’”). But the Bankruptcy Court did not address any of them.

        47.      Finally, the Bankruptcy Court itself shows that there are substantial grounds for a

difference of opinion by seemingly contradicting itself in its own Connecticut Order and the order it wrote

concerning a different judgment from a Texas state court concerning the Sandy Hook Shooting. Compare

(Doc. 76) (Connecticut Order), with (Texas Adv. Doc. 46) (Memorandum Decision on Texas Plaintiffs’

Motion for Summary judgment Against Jones (the “Texas Order”)). As to the inconsistencies within the

Connecticut Order at issue, the Bankruptcy Court denied summary judgment as to common-law punitive

damages because the jury charge instructed that common law punitive damages could be awarded for

conduct that was “willful, wanton, or malicious,” and under Connecticut law, wanton misconduct is

defined as “reckless misconduct” (Doc. 76 (quoting Doc. 57-21)). Thus, the Bankruptcy Court found that


                                                    17
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 25 of 34




collateral estoppel did not apply to the jury’s finding on common-law punitive damages because the jury

was given a disjunctive jury instruction, allowing it to award punitive damages based on reckless conduct.

(Doc. 76 at 17 (“But unlike the instructions for defamation and intentional infliction of emotional distress,

the jury had a right to award common-law punitive damages based on reckless actions or actual intent to

cause harm. This proves fatal on summary judgment.”)). This is a correct pronouncement of the law: if a

state-court jury is given an instruction on a cause of action that allows it to award damages based on

reckless conduct, and there are not “additional specific findings [as to intent],” then a Bankruptcy Court

cannot give such a jury verdict preclusive effect for purposes of § 523(a)(6). In re Mahadevan, 617 F.

Supp. 3d at 665 (alteration in original) (quoting In re Kauanui, No. 14-00077, 2015 WL 359088, at *3

(Bankr. D. Haw. Jan. 23, 2015)).

       48.      The Bankruptcy Court’s reasoning in denying summary judgment on common-law

punitive damages is almost impossible to square with its reasoning on granting summary judgment on

compensatory damages for the defamation and IIED claims. As to defamation, Debtor has already

explained above that the jury instruction on defamation did not list a level of culpability, and that under

Connecticut law, the most stringent standard available for a claim of defamation is “actual malice,” which

can be met with mere recklessness as to the veracity of the statement.

       49.      As to IIED, the Bankruptcy Court quoted the jury instruction in its entirety, which listed

the four elements of IIED, one of which was that “defendants intended to inflict emotional distress or the

defendants knew or should have known that emotional distress was the likely result of their conduct.”

(Doc. 76 at 14 (emphasis added) (quoting Jury Charge, Doc. 57-21)). This instruction, like the instruction

on common-law punitive damages, allowed the jury to award compensatory damages for IIED based on

recklessness. See Donohue v. Shop-Rite Supermarkets, No. CV146041233S, 2014 WL 5094294, at *3




                                                     18
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 26 of 34




(Conn. Super. Ct. Aug. 28, 2014) (noting that the phrase “knew or should have known” was sufficient to

state a claim for recklessness).

       50.      Moreover, the Bankruptcy Court’s reasoning on IIED is at odds with its reasoning in Heslin

v. Jones (In re Jones), No. 22-33553, 2023 WL 6938266 (Bankr. S.D. Tex. Oct. 19, 2023) (Texas Adv.

Doc. 46). In Heslin, the Bankruptcy Court issued an order on a case involving a judgment from a Texas

state court concerning the same conduct underlying the Connecticut Action. In Heslin, the trial court also

entered default judgments against Debtor on claims of defamation and IIED, and those Plaintiffs similarly

attempted to apply the doctrine of collateral estoppel to the judgments in an adversary proceeding against

Debtor. However, the Bankruptcy Court denied summary judgment as to the IIED claim in Heslin because

“[t]he jury was asked to find damages based on intentional or reckless acts, and it did so.” Id. at *10;

(Texas Adv. Doc. 46 at 15). The Bankruptcy Court in Heslin then reasoned that there would need to be a

trial to determine what, if any, part of the IIED damages stem from willful and malicious injury. Id.;

(Texas Adv. Doc. 46 at 15-16).

       This is obviously not the route the Bankruptcy Court took in the instant case, and the only

difference between the Bankruptcy Court’s finding in the Connecticut Order and its finding in Heslin as

it relates to IIED is that the jury instruction in Heslin stated that Jones acted either “intentionally or

recklessly,” while the jury instruction in the Connecticut Action stated that “defendants intended to inflict

emotional distress or the defendants knew or should have known that emotional distress was the likely

result of their conduct.” But as described above, the phrase “knew or should have known” is simply

another way to say reckless. Thus, not only are there substantial grounds for a difference of opinion based

on all the cases Debtor cites above, but there are substantial grounds for a difference of opinion based on

the Bankruptcy Court’s own reasoning on common law damages in the instant case and its IIED reasoning

in Helsin. Accordingly, the Court should grant Debtor’s Motion so it can fix these discrepancies.


                                                     19
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 27 of 34




             2. CUTPA

       51.      Furthermore, the CUTPA punitive damages award could have also been validly rendered

in the absence of a determination of “willful and malicious injury” under § 523(a)(6). Under CUTPA, an

award of punitive damages may be justified by either “an intentional and wanton violation” of another’s

rights or “a reckless indifference to [those] rights.” Advanced Fin. Servs., Inc. v. Associated Appraisal

Servs., Inc., 830 A.2d 240, 250 (Conn. App. 2003). Indeed, a CUTPA punitive damages award can be

based on mere recklessness, which is a less stringent standard than that required for the § 523(a)(6)

exception. See Birnie v. Elec. Boat Corp., 953 A.2d 28, 38 (Conn. 2008) (holding that collateral estoppel

is improper when the second action carries a heavier burden than the first action).

       52.      A CUTPA punitive damages award does not require an objective finding of substantial

certainty of harm. Connecticut courts instead consider a range of factors to determine the propriety of such

an award, with no single factor being dispositive or essential. These factors include concealment of

wrongdoing, profit-seeking motive, low damages resulting in low incentive to bring suit, whether the

award will deter the conduct without financially destroying the defendant, and the reprehensibility of

conduct. Ulbrich v. Groth, 78 A.3d 76, 126 (Conn. 2013). In turn, reprehensibility is assessed based on

another list of nonessential factors, such as the nature of harm caused, indifference or reckless disregard

for health or safety, financial vulnerability of the target, repeated actions versus isolated incidents, and

whether the harm resulted from intentional malice, trickery, deceit, or mere accident. Id. at 127. Therefore,

the only way to link the CUTPA award to the § 523(a)(6) standard is through a double layer of nonessential

considerations. A finding of reprehensibility is not necessary to establish a CUTPA award, and the

objective substantial certainty of harm is not necessary to establish reprehensibility.

       53.      True, in its 45-page opinion on damages, the state court stumbled on the phrase “certain to

cause harm.” Based on this, the Bankruptcy Court granted summary judgment stating that “[i]t is irrelevant


                                                     20
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 28 of 34




that the state court could have awarded damages on reckless acts. What is important is what the court

actually did.” (Doc. 76 at 16). That statement is wrong. From what can be gathered, it was not based on

Connecticut collateral estoppel law as is required by 28 U.S.C. § 1738. While there is ground for that

statement under the laws of other states, the statement does not reflect collateral estoppel law in

Connecticut. In Connecticut, even “[i]f an issue has been determined, [if] the judgment is not dependent

upon the determination of th[at] issue, the parties may relitigate [it] in a subsequent action.” Laurel Beach,

785 A.2d at 1176. Findings or statements on issues that go beyond what is essential to the judgment are

given no preclusive effect. Gladysz v. Plan. & Zoning Comm’n of Town of Plainville, 773 A.2d 300, 307

(Conn. 2001) (noting that, for collateral estoppel purposes, “statements by a court regarding a nonessential

issue are treated as merely dicta.”). Moreover, read more closely and in context, the Connecticut state

court did not use the phrase “certain to cause harm” in the same way that the Fifth Circuit uses it when

describing the § 523(a)(6) standard.

       54.      Admittedly, the language in the Punitive Damages Order makes it closer call as to whether

“willful and malicious injury” under § 523(a)(6) was necessarily decided for the CUTPA punitive

damages. Debtor cannot present to the Court the litany of cases that it presented for the proposition that

disjunctive jury instructions on defamation and IIED in a state-court proceeding cannot preclude

relitigation of “willful and malicious injury” under § 523(a)(6). However, Debtor does believe the law is

on his side, and to the extent the Court does not believe the CUTPA issue satisfies the substantial-ground-

for-a-difference-of-opinion element, the Court should nonetheless review the Bankruptcy Court’s Order

as it relates to CUTPA damages. As a general matter, where a court has “jurisdiction over an interlocutory

appeal of one ruling, [it has] the discretion to exercise pendent appellate jurisdiction over other district

court rulings that are ‘inextricably intertwined’ or ‘necessary to ensure meaningful review’ of the first.”

Bolmer v. Oliveira, 594 F.3d 134, 141 (2d Cir. 2010) (quoting Swint v. Chambers Cnty. Comm’n, 514


                                                     21
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 29 of 34




U.S. 35, 51, (1995); see also Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012); Suboh v. District

Attorney's Office of Suffolk Dist., 298 F.3d 81 (1st Cir. 2002); Antrican v. Odom, 290 F.3d 178 (4th Cir.

2002); Moore v. City of Wynnewood, 57 F.3d 924 (10th Cir. 1995).

       55.      Here, all the damages at issue are inextricably intertwined with each other. It would not

make sense for the Court to only review whether collateral estoppel precludes the relitigation of the

compensatory damages for defamation and IIED and not the CUTPA damages. If the Court did decide to

split them up, the parties would be forced to have one trial now, and if the Bankruptcy Court’s decision

on CUTPA damages is reversed after Debtor’s appeal of the final judgment, then there would most likely

be a second trial on the CUTPA damages. The Court should forestall this inefficiency and simply review

the Bankruptcy Court’s Order as it relates to all the categories of damages from the Connecticut Action.

   B. Actually Litigated

       56.      There is also substantial ground for a difference of opinion on whether the default judgment

on either defamation or IIED was “actually litigated” under Connecticut law. To be “actually litigated,”

the precise issue must have been before the court in the first action, the subsequent court considering

collateral estoppel cannot “improperly merge[]” even “overlap[ping]” standards to invoke the doctrine.

See Gladysz v. Plan. & Zoning Comm’n of Town of Plainville, 773 A.2d 300, 308 (Conn. 2001) (first

quote); Independent Party of CT-State Central v. Merrill, 200 A.3d 1118, 1142 (Conn. 2019) (second

quote). Here, the Bankruptcy Court improperly merged state law tort standards with bankruptcy

nondischargeability standards under § 523(a)(6).

       57.      Issues in default judgments are not normally considered “actually litigated,” but there is an

exception for default judgments rendered as a sanction for discovery violations in certain circumstances.

When seeking to apply § 523(a)(6), one such circumstance is when an extensive damages hearing

following the default judgment is the equivalent of a hearing on § 523(a)(6). Cf. King v. Huizar (In re


                                                     22
             Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 30 of 34




Huizar), 609 B.R. 482, 491-92 (Bankr. W.D. Tex. 2019) (noting that defendant was allowed to “present

any and all evidence he desired during the five days of hearing on the issue of damages.”). No such

equivalency can be found here. This is evidenced by the fact that the state court expressly forbid any

testimony relating to intent to cause harm, which is the crux of the § 523(a)(6) inquiry. (Doc. 61-3,

Transcript of Connecticut Court Granting Plaintiffs’ Motion in Limine).

       58.      Moreover, even if the Court disagrees that the “actually litigated” issue satisfies the

substantial-ground-for-difference-of-opinion element, it can and should consider the issue on

interlocutory appeal along with the “necessarily decided” issue, as the two issues are inextricably

intertwined with each other since both are elements that must be satisfied in order to apply the doctrine of

collateral estoppel under Connecticut law. See supra at 10-11. It would disserve judicial efficiency to only

review certain issues decided by the Bankruptcy Court but leave others for an appeal after a final judgment.

   C. Fairness Factors and Constitutionality

       59.      The Bankruptcy Court also failed to apply Connecticut collateral estoppel law in other

ways. Under Connecticut law, collateral estoppel doctrine “should be flexible and must give way when

[its] mechanical application would frustrate other social policies based on values equally or more

important than the convenience afforded by finality in legal controversies.” Cumberland Farms, Inc. v.

Town of Groton, 808 A.2d 1107, 1117 (Conn. 2002).

       60.      This balancing test is integral to the collateral estoppel analysis in Connecticut, which the

Bankruptcy Court cannot ignore. It is not, as the Bankruptcy Court holds, only an appellate issue. (Doc.

76 at 17-18). Thus, the Bankruptcy Court must confront the underlying issues of free speech and due

process, which are societal values more important than the convenience afforded by collateral estoppel.

Indeed, here, collateral estoppel affords no convenience of finality because, due to the split opinion, the




                                                     23
              Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 31 of 34




 § 523(a)(6) issue needs to be litigated anyway. In fact, the split opinion runs counter to another virtue of

 collateral estoppel: consistency.

        61.      Moreover, as Debtor analyzed at length in his Response to Plaintiff’s Motion for Summary

 Judgment (Doc. 61), the consideration of constitutional issues is a stand-alone federal collateral estoppel

 question—not exclusively a state appellate question—under 28 U.S.C. § 1738. See Kremer v. Chem.

 Const. Corp., 456 U.S. 461, 482 (1982) (“A State may not grant preclusive effect in its own courts to a

 constitutionally infirm judgment, and . . . federal courts are not required to accord full faith and credit to

 such a judgment.”). The Bankruptcy Court failed to analyze Debtor’s argument in this regard, and the

 Court here should review the Connecticut Order as it relates to the constitutionality of the Connecticut

 Judgment.

        62.      Admittedly, there is not any law from any circuit directly on point to these two issues, but

 the Court should nonetheless review these issues on interlocutory appeal because they are inextricably

 intertwined with the larger question of whether the doctrine of collateral estoppel applies. See supra.

 described above, it does not make sense for the Court to only review certain issues decided by the

 Bankruptcy Court but leave others for an appeal after a final judgment, especially when all the issues

 concern whether to apply the doctrine of collateral estoppel under Connecticut law.

III.   An Immediate Appeal Would Materially Advance the Ultimate Termination of the Litigation

        63.      An immediate appeal of the Connecticut Order will materially advance this case. This

 element will be satisfied if permitting an interlocutory appeal “will speed up the litigation.” Tesco Corp.

 v. Weatherford Intern., Inc., 722 F. Supp. 2d 755, 767 (S.D. Tex. 2010); Pemex Exploration y Produccion

 v. BASF Corp., No. CIV.A. H-10-1997, 2011 WL 11569219, at *12 (S.D. Tex. Feb. 11, 2011); Adhikari

 v. Daoud & Partners, No. 09-cv-1237, 2012 WL 718933, at *1 (S.D. Tex. Mar. 5, 2012). When

 determining whether an interlocutory appeal will materially advance the ultimate termination of the


                                                      24
              Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 32 of 34




litigation, a court should examine “whether an immediate appeal would (1) eliminate the need for a trial,

(2) eliminate complex issues so as to simplify the trial, or (3) eliminate issues to make discovery easier

and less costly.” Coates v. Brazoria Cnty. Tex., 919 F. Supp. 2d 863, 867 (S.D. Tex. 2013).

        64.      Here, resolving the issues presented in this appeal would materially advance the

termination of the case because it would ensure that the parties would only need to have one trial. On the

other hand, if the Court decides not to grant leave to appeal the Connecticut Order, then the parties will

have to have a trial on whether the common-law punitive damages were based on willfulness and

maliciousness. If Debtor prevails at that trial, then he would be allowed to appeal the Bankruptcy Court’s

grant of summary judgment on the compensatory damages and CUTPA damages, and, if victorious on

appeal, the parties would have to have a second trial to determine which of those damages satisfy the §

523(a)(6) standard. Immediate appeal would prevent the need for two separate trials.

        65.      In addition, the Fifth Circuit has, on occasion, stated that interlocutory appeals are only

appropriate under “exceptional” circumstances or in “big” cases. Clark-Dietz & Assocs.-Engineers, Inc.

v. Basic Const. Co., 702 F.2d 67, 69 (5th Cir. 1983). This case certainly qualifies as exceptional. Debtor

is currently preparing his plan of reorganization, including treatment for claims stemming from the

Connecticut Judgment, and a determination of which parts of that judgment are and are not

nondischargeable is vital to the conclusion of the plan.

                                                  CONCLUSION

        WHEREFORE, Debtor has satisfied the factors for granting a motion for leave to appeal the

Connecticut Order and for the reasons set forth herein and in the interests of justice, Debtor respectfully

requests that this Court enter an order granting leave to appeal the Connecticut Order and granting such

other and further relief as is just and proper.




                                                      25
         Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 33 of 34




Date: November 2, 2023

                                   Respectfully submitted,

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                                         26
           Case 23-03037 Document 82 Filed in TXSB on 11/02/23 Page 34 of 34




                                    CERTIFICATE OF SERVICE

       I certify that on November 2, 2023, a true and correct copy of the foregoing pleading was served

via the Court’s ECF system to the parties registered to receive electronic notice and/or via electronic mail

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                                                    27
